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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA

                                               CASE NO.:



   DEBBIE DELOTTA,

         Plaintiff,

   v.

   SOUTH BROWARD HOSPITAL DISTRICT,
   d/b/a Memorial Healthcare System,

         Defendant.


                                              COMPLAINT

          COMES NOW, Plaintiff, DEBBIE DELOTTA (hereinafter as “Plaintiff”), by and through the

  undersigned counsel, hereby brings this action against Defendant, SOUTH BROWARD HOSPITAL

  DISTRICT, d/b/a Memorial Healthcare System, (hereinafter as “Defendant”), for violations under,

  inter alia, the Americans with Disabilities Act of 1990 (“ADA”), 42 U.S.C. § 12111, the Florida Civil

  Rights Act of 1992 (“FRCA”), and the Consolidated Omnibus Budget Reconciliation Act of 1985

  (“COBRA”).



                                             JURISDICTION

  1.    Jurisdiction of this Court is invoked pursuant to 42 U.S.C. §2000e-5(f) and 28 U.S.C. § 1331, this

        being a suit under the ADA and COBRA. Plaintiff further invokes the pendant jurisdiction of

        this Court to hear and decide claims arising under the laws of the State of Florida pursuant to 28

        U.S.C. § 1367.
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                                                 VENUE

  2.   Venue is proper in the United States District Court for the Southern District of Florida as the

       alleged violations herein took place in Broward County, Florida, and the Defendant is a Florida

       corporation who transacts business in Broward County, Florida, and the alleged violations that

       is the basis of Plaintiff’s Complaint occurred within the District and venue, therefore, properly

       lies in this Court.




                                                PARTIES

  3.   Plaintiff, DEBBIE DELOTTA, is an individual residing in the County of Broward, State of

       Florida. Plaintiff became employed and hired by Defendant on or about April 2001 and worked

       for Defendant as an “Administrative Assistant” until approximately July 2019.

  4.   Defendant is a corporation formed and existing under the laws of the State of Florida, with more

       than twenty (20) employees at all time relevant. Defendant is further the sponsor of Defendant’s

       employee welfare plan (the “Plan”) within the meaning of 29 U.S.C. § 1163(2).

  5.   Plaintiff alleges that Defendant has discriminated against her because of her disability, for seeking

       accomodation under the ADA, for taking FMLA leave intermittently, and for filing an Inquiry

       Informamtion with the Equal Employment Opportunity Commission (“EEOC”), alleging

       discrimination under the ADA.




                                  ADMINISTRATIVE EXHAUSTION

  6.     Plaintiff has exhausted her administrative remedies. On June 27, 2019, Plaintiff duly filed a

         Charge of Discrimination with the EEOC.
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  7.      On September 11, 2019, the EEOC issued Plaintiff a Dismissal and Notice of Rights.

  8.      This action is commenced within ninety (90) of receipt of the Notice of Rights conferring

          jurisdiction on this Court.



                                             ALLEGATIONS

  9.    Plaintiff was employed by Defendant from approximately April 2001 to approximately July 2019,

        as an “Administrative Assistant”, most recently working with Defendant’s Administrative

        Director of Regulatory Affairs, Barbara Bruce (“Ms. Bruce”), amongst others.

  10.   Plaintiff’s work was primarily computer-based, which was able to be fully and successfully

        performed from any location in which Plaintiff had access to the internet, including Plaintiff’s

        home.

  11.   Plaintiff had worked without supervision under Ms. Bruce and successfully met her deadlines.

  12.   Plaintiff would often not see Ms. Bruce for weeks at a time, with Plaintiff and Ms. Bruce

        communicating through email or by phone without issue.

  13.   In approximately the summer of 2018, Plaintiff began to suffer from debilitating migraine

        headaches.

  14.   Plaintiff’s migraine headaches condition continued to worsen thereafter.

  15.   Plaintiff was thereafter diagnosed with chronic migraine headaches which affected Plaintiff on a

        daily basis.

  16.   Plaintiff would experience severe pain, distorted vision, dizziness, light sensitivity, and nausea,

        on a daily basis, due to her chronic condition.

  17.   Driving a vehicle was Plaintiff’s biggest trigger for migraine headaches and exacerbated the
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        symptoms.

  18.   Plaintiff took daily medication to alleviate the symptoms of the chronic migraine headaches,

        however, said medication caused sedation and dizziness, and, as such, Plaintiff was advised by

        her doctor to avoid driving a vehicle when she took same.

  19.   Plaintiff’s condition was obvious to anyone who interacted with Plaintiff.

  20.   Thereafter, Plaintiff was forced to apply for an accommodation under the ADA.

  21.   Defendant granted Plaintiff’s accommodation under the ADA to work from home four (4) days

        per week and to work in the office one (1) day per week.

  22.   Said accommodation greatly reduced the amount of time Plaintiff had to drive a vehicle during

        the work week, which allowed Plaintiff to perform the duties of her position fully and

        successfully.

  23.   Despite the accommodation, Plaintiff still made sure that she routinely worked from the office

        two (2) days per week, with one of those days usually being a Saturday.

  24.   Under this accommodation, Plaintiff was fully and successfully able to perform the duties of her

        position.

  25.   Despite the above, on March 6, 2019, Plaintiff was called to appear for a meeting at the corporate

        offices and was berated for a period of approximately forty (40) minutes, by Defendant’s Senior

        Vice President, Maggie Hansen (“Ms. Hansen”).

  26.   At the March 6, 2019 meeting, Ms. Hansen stated that “nobody works from home” and that

        Plaintiff would be assigned to a different director, with the requirement that Plaintiff drive

        between facilities daily for face-to-face contact, among other things, which was in retaliation to

        Plaintiff seeking ongoing ADA accommodation.
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  27.   When Plaintiff reminded Ms. Hansen that she was on approved ADA accommodation, and that

        such a move was potentially in violation of the ADA, Ms. Hansen responded that she did not

        “care about the laws” and the meeting quickly concluded.

  28.   Plaintiff thereafter filed an Inquiry Information with the EEOC on March 11, 2019, regarding

        Defendant’s actions.

  29.   Defendant became aware of Plaintiff’s filing of the Inquiry Information soon thereafter, and

        inadvertently copied Plaintiff on an email on March 26, 2019, in which Defendant’s Human

        Resources Department (HR) was directed to open a legal file, in Plaintiff’s name, on the shared

        drive.

  30.   Soon thereafter, Defendant began retaliated against Plaintiff for the filing of the Inquiry

        Information and for asserting her rights under the ADA.

  31.   Such retaliation included, but is not limited to: (1) Defendant locking Plaintiff’s access to the

        employee online portal; (2) refusal to permit Plaintiff to transfer her 401(k) savings account

        without any reason provided despite requests for same from Plaintiff; (3) intentionally re-

        assigning Plaintiff to a new position that required additional driving and more time in the office

        contrary to Plaintiff’s ADA accommodation; and (4) and was advised that Plaintiff was being

        placed on involuntary and uncertified unpaid leave under the Fair Medical Leave Act (FMLA)

        despite Plaintiff fully able to perform the duties of her position under Ms. Bruce.

  32.   Due to Defendant’s actions, Plaintiff was severely damaged, including losing her salary, and the

        ability to afford the expensive daily medication that was necessary to help mitigate the affects of

        her chronic migraine headaches.

  33.   Prior to the March 6, 2019 meeting, Plaintiff had never been written-up by Defendant, or
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        provided any warnings of any kind, concerning her job performance or otherwise, including

        during the period of time that Plaintiff was working under an ADA accommodation.

  34.   Defendant requested new or updated medical documentation to prove Plaintiff’s disability

        approximately eight (8) times in nine (9) months, despite Plaintiff’s condition already being

        known to Defendant, that the condition was not temporary, and that the condition was further

        obvious to anyone who interacted with Plaintiff face-to-face, in violation of the disability-related

        inquiry rules under the ADA.

  35.   Upon termination of the employment relationship between the Parties, Defendant, as the

        employee welfare plan sponsor of Defendant’s health plan (the “Plan”), failed to provide adequate

        notice of Plaintiff’s rights under COBRA.




                  COUNT I – DISABILITY DISCRIMINATION UNDER THE ADA

  36.    Plaintiff hereby alleges and incorporates by reference the allegations set forth in Paragraphs 1

         to 35 of this Complaint.

  37.    At all times material hereto, Defendant was a “covered employer”, as defined by the ADA.

  38.    At all times material hereto, Plaintiff was a “covered employee”, as defined by the ADA.

  39.    By the conduct described above, Defendant engaged in unlawful employment practices and

         discriminated against Plaintiff by withdrawing an ADA accommodation to Plaintiff and

         failing to provide proper ADA accommodation to Plaintiff.

  40.    Defendant knowingly and willfully discriminated against Plaintiff in violation of the ADA.

  41.    As a result of Defendant’s violations of the ADA, Plaintiff has been damaged. Plaintiff lost

         her job and her salary, lost the ability to afford her expensive daily medication needed for her
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                 chronic migraine headaches, her reputation was damaged which caused humiliation and

                 emotional and physical anguish, has caused depression.

                 WHEREFORE, Plaintiff prays that this Honorable Court enters an Order against Defendant

  for:

            i.       Lost wages/back pay;

           ii.       Reinstatement or, alternatively, payment of front pay in lieu of reinstatement;

          iii.       Payment for any lost benefits;

          iv.        Compensatory damages for past and future non-pecuniary losses resulting from the

                     unlawful practices complained of above, including, but not limited to, emotional pain and

                     suffering, inconvenience, loss of enjoyment of life, and humiliation, in an amount to be

                     determined at trial;

           v.        Punitive damages for the malicious and reckless conduct described above, in an amount

                     to be determined at trial;

          vi.        Prejudgment interest;

         vii.        Costs and reasonable attorneys’ fees pursuant to 42 U.S.C. § 12205; and for

         viii.       Any other relief that the Court deems appropriate.




                                      COUNT II – DISABILITY RETALIATION

  42.            Plaintiff hereby alleges and incorporates by reference the allegations set forth in Paragraphs 1

                 to 35 of this Complaint.

  43.            By the conduct described above, Defendant has engaged in unlawful employment practices

                 and retaliated against Plaintiff by illegally taking adverse employment actions have she filed
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                an Information Inquiry with the EEOC, alleging violations under the ADA, including, but

                not limited to: locking Plaintiff’s access to the employee online portal, refusal to permit

                Plaintiff to transfer her 401(k) savings account without any reason provided, and was advised

                that Plaintiff was being placed on involuntary unpaid leave under the FMLA despite fully

                being able to perform the duties of her position under Ms. Bruce.

  44.           Defendant knowingly and willfully retaliated against Plaintiff in violation of the ADA.

  45.           As a result of Defendant’s violations of the ADA, Plaintiff has been damaged. Plaintiff lost

                her job and her salary, lost the ability to afford her expensive daily medication needed for her

                chronic migraine headaches, her reputation was damaged which caused humiliation and

                emotional and physical anguish, has caused depression.

                WHEREFORE, Plaintiff prays that this Honorable Court enters an Order against Defendant

  for:

           i.       Lost wages/back pay;

          ii.       Reinstatement or, alternatively, payment of front pay in lieu of reinstatement;

         iii.       Payment for any lost benefits;

         iv.        Compensatory damages for past and future non-pecuniary losses resulting from the

                    unlawful practices complained of above, including, but not limited to, emotional pain and

                    suffering, inconvenience, loss of enjoyment of life, and humiliation, in an amount to be

                    determined at trial;

          v.        Punitive damages for the malicious and reckless conduct described above, in an amount

                    to be determined at trial;

         vi.        Prejudgment interest;
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         vii.        Costs and reasonable attorneys’ fees pursuant to 42 U.S.C. § 12205; and for

         viii.       Any other relief that the Court deems appropriate.




    COUNT III – DISABILITY DISCRIMINATION UNDER FLORIDA CIVIL RIGHTS ACT OF
                                 1992, CHAPTER 760

  46.            Plaintiff hereby alleges and incorporates by reference the allegations set forth in Paragraphs 1

                 to 35 of this Complaint.

  47.            The above actions by Defendant constitute a violation of Florida Statutes, Chapter 760 for

                 discrimination.

  48.            As a result of Defendant’s violations of the FRCA, Plaintiff has been damaged. Plaintiff lost

                 her job and her salary, lost the ability to afford her expensive daily medication needed for her

                 chronic migraine headaches, her reputation was damaged which caused humiliation and

                 emotional and physical anguish, has caused depression.

                 WHEREFORE, Plaintiff prays that this Honorable Court enters an Order against Defendant

  for:

            i.       Lost wages/back pay;

           ii.       Reinstatement or, alternatively, payment of front pay in lieu of reinstatement;

          iii.       Payment for any lost benefits;

          iv.        Compensatory damages for past and future non-pecuniary losses resulting from the

                     unlawful practices complained of above, including, but not limited to, emotional pain and

                     suffering, inconvenience, loss of enjoyment of life, and humiliation, in an amount to be

                     determined at trial;
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          v.        Punitive damages for the malicious and reckless conduct described above, in an amount

                    to be determined at trial;

         vi.        Prejudgment interest;

        vii.        Costs and reasonable attorneys’ fees; and for

        viii.       Any other relief that the Court deems appropriate.




   COUNT IV – DISABILITY RETALIATION UNDER FLORIDA CIVIL RIGHTS ACT OF 1992,
                                  CHAPTER 760

  49.           Plaintiff hereby alleges and incorporates by reference the allegations set forth in Paragraphs 1

                to 35 of this Complaint.

  50.           The above actions by Defendant constitute a violation of Florida Statutes, Chapter 760 for

                discrimination.

  51.           By the conduct described above, Defendant has engaged in unlawful employment practices

                and retaliated against Plaintiff by illegally taking adverse employment actions have she filed

                an Information Inquiry with the EEOC, alleging violations under the FRCA, including, but

                not limited to: locking Plaintiff’s access to the employee online portal, refusal to permit

                Plaintiff to transfer her 401(k) savings account without any reason provided, and was advised

                that Plaintiff was being placed on involuntary unpaid leave under the FMLA despite fully

                being able to perform the duties of her position under Ms. Bruce.

  52.           As a result of Defendant’s violations of the FRCA, Plaintiff has been damaged. Plaintiff lost

                her job and her salary, lost the ability to afford her expensive daily medication needed for her

                chronic migraine headaches, her reputation was damaged which caused humiliation and
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                 emotional and physical anguish, has caused depression.

                 WHEREFORE, Plaintiff prays that this Honorable Court enters an Order against Defendant

  for:

            i.       Lost wages/back pay;

           ii.       Reinstatement or, alternatively, payment of front pay in lieu of reinstatement;

          iii.       Payment for any lost benefits;

          iv.        Compensatory damages for past and future non-pecuniary losses resulting from the

                     unlawful practices complained of above, including, but not limited to, emotional pain and

                     suffering, inconvenience, loss of enjoyment of life, and humiliation, in an amount to be

                     determined at trial;

           v.        Punitive damages for the malicious and reckless conduct described above, in an amount

                     to be determined at trial;

          vi.        Prejudgment interest;

         vii.        Costs and reasonable attorneys’ fees; and for

         viii.       Any other relief that the Court deems appropriate.




                                                  COUNT V – COBRA

  53.            Plaintiff hereby alleges and incorporates by reference the allegations set forth in Paragraphs 1

                 to 35 of this Complaint.

  54.            Defendant’s Plan is a group health plan within the meaning of 29 U.S.C. § 1167(1).

  55.            Defendant is the sponsor and administrator of the Plan and was subject to the continuation

                 of coverage and notice requirements of COBRA.
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  56.    Plaintiff experienced a “qualifying event” as defined by 29 U.S.C. § 1163, and Defendant was

         aware that Plaintiff had experienced such a qualifying event.

  57.    Despite same, Defendant failed to provide Plaintiff with adequate notice of Plaintiff’s rights

         under COBRA.

  58.    To date, Defendant has not provided Plaintiff with any notice of Plaintiff’s rights under

         COBRA.

  59.    The violation was material and willful.

  60.    Due to Defendant’s violations of COBRA, Plaintiff has been damaged.

         WHEREFORE, Plaintiff prays that this Honorable Court enters an Order against Defendant

  for:

            i.   Issuing proper notice to Plaintiff at Defendant’s expense;

           ii.   Compensate Plaintiff for any out of pocket expenses caused by Defendant’s violation;

          iii.   Awarding statutory penalties to Plaintiff pursuant to 29 U.S.C. § 1132(c)(1) and 29

                 C.F.R. § 2575.502c-1 in the amount of $110 per day;

          iv.    Awarding attorneys’ fees, costs and expenses to Plaintiff’s counsel as provided by 29

                 U.S.C. § 1132(g)(1) and other applicable law; and

           v.    Granting such other and further relief, in law or equity, as this Court deems

                 appropriate;




                                      DEMAND FOR JURY TRIAL

         Plaintiff demands a jury trial on all issues so triable.
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  DATED: November 22, 2019

                                           Respectfully submitted,

                                           MILITZOK LAW, P.A.
                                           Attorney for Plaintiff
                                           Wells Fargo Building
                                           4600 Sheridan Street, Suite 402
                                           Hollywood, Florida 33021
                                           (954) 780-8228 - Telephone
                                           (954) 719-4016– Facsimile
                                           bjm@militzoklaw.com

                                           By: /s/ Brian Militzok
                                           BRIAN J. MILITZOK, ESQ
                                           Fla. Bar No.: 0069993
